     Case 1:18-cr-00002-JLT-SKO Document 162 Filed 08/04/20 Page 1 of 2


 1   Kevin G. Little, SBN 149818
     LAW OFFICE OF KEVIN G. LITTLE
 2   Post Office Box 8656
     Fresno, California 93747
 3   Telephone: (559) 342-5800
     Facsimile: (559) 242-2400
 4   E-Mail: kevin@kevinglittle.com
 5   Attorneys for Defendant John Doe, aka Marcos Castro
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9            FOR THE EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
10
11    UNITED STATES OF AMERICA,                )    Case №: 1:18-CR-00002-NONE-SKO
                                               )
12                 Plaintiff,                  )    ORDER GRANTING REQUEST TO
                                               )    SEAL DOCUMENTS
13          vs.                                )
                                               )
14    ISRAEL ALBERTO RIVAS GOMEZ:              )
      JOHN DOE aka “Marcos Castro,”            )
15                                             )
                   Defendants.                 )
16                                             )
                                               )
17                                             )
18          Pursuant to Local Rule 141(b) and based upon the representation contained in the
19   defendant John Doe a\ka Marcos Castro’s Request to Seal, IT IS HEREBY ORDERED
20   that the following documents shall be SEALED until further order of this Court:
21
     DEFENDANT’S REQUEST TO FILE PLEADINGS UNDER SEAL; SUPPORTING
22   DECLARATION
23   DEFENDANT’S REPLY BRIEF IN SUPPORT OF MOTIONS SEEKING: (1)
24   SUPPRESSION OF INTERROGATION STATEMENTS AND RELATED EVIDENCE;
     (2) A FRANKS HEARING RE: THE ARREST WARRANT; (3) A SEPARATE TRIAL;
25   (4) AN INTRADISTRICT TRANSFER; (5) AN ORDER COMPELLING DISCOVERY;
     (6) AN ORDER FOR FOREIGN DEPOSITIONS; (7) LEAVE TO FILE ADDITIONAL
26
     MOTIONS; AND (8) CONTINUANCE OF MOTION IN LIMINE AND TRIAL
27   DATES; SUPPORTING DECLARATION OF COUNSEL; SUPPORTING EXHIBITS
28                                                 -1-
                                ORDER GRANTING REQUEST TO SEAL DOCUMENTS
     Case 1:18-cr-00002-JLT-SKO Document 162 Filed 08/04/20 Page 2 of 2


 1
            It is further ordered that access to the sealed documents shall be limited to the
 2
     government and counsel for the moving defendant.
 3
            The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S.
 4
     District Court for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds
 5
     that, for the reasons stated in the defendant’s request, sealing these three pleadings serves
 6
     a compelling interest. The Court further finds that, in the absence of closure, the
 7
     compelling interests identified by the defendant would be harmed. The Court further
 8
     finds that there are no additional alternatives to sealing the defendant’s three pleadings
 9
     that would adequately protect the compelling interests identified by the defendant in his
10
     request.
11
12   IT IS SO ORDERED.

13      Dated:    August 4, 2020
                                                    UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                              -2-
                             ORDER GRANTING REQUEST TO SEAL DOCUMENTS
